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19 Counsel for Defendant Google LLC

20                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21

22   PATRICK CALHOUN, et al., on behalf of            Case No. 5:20-cv-5146-YGR-SVK
     themselves and all others similarly situated,
23                                                    GOOGLE’S STATEMENT OF
            Plaintiffs,                               RECENT DECISION IN SUPPORT OF
24                                                    ITS OPPOSITION TO PLAINTIFFS’
            v.                                        MOTION FOR CLASS
25                                                    CERTIFICATION
     GOOGLE LLC,
26                                                    The Honorable Yvonne Gonzalez Rogers
            Defendant.                                Courtroom 1 – 4th Floor
27                                                    Date: Vacated Pursuant to Dkt. 664
                                                      Time: Vacated Pursuant to Dkt. 664
28                                                    Amended Complaint Filed: April 16, 2021
                                                                  Case No. 5:20-cv-5146-YGR-SVK
                   GOOGLE’S STATEMENT OF RECENT DECISION ISO OPPOSITION TO MOTION FOR CLASS
                                                                                 CERTIFICATION
       Case 4:20-cv-05146-YGR Document 679 Filed 05/27/22 Page 2 of 3




 1          Pursuant to Civil Local Rule 7-3(d)(2), Defendant Google LLC respectfully brings to the

 2 Court’s attention a newly issued opinion relevant to Plaintiffs’ Motion for Class Certification. See

 3 Dkt. 340.

 4          The opinion is the Honorable Anthony J. Battaglia’s denial of plaintiff’s motion for class

 5 certification in Bennett v. North American Bancard, LLC, Case No. 3:17-cv-00586-AJB-KSC, Dkt.

 6 195 (S.D.Cal May 25, 2022). The opinion is attached hereto as Exhibit A. This opinion was issued

 7 after Google filed its Opposition to Plaintiffs’ Motion for Class Certification. See Dkt. 429.

 8   DATED: May 27, 2022                       QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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10                                              By            /s/ Andrew H. Schapiro
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     Case 4:20-cv-05146-YGR Document 679 Filed 05/27/22 Page 3 of 3




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                                         -2-                 Case No. 5:20-cv-5146-YGR-SVK
              GOOGLE’S STATEMENT OF RECENT DECISION ISO OPPOSITION TO MOTION FOR CLASS
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